         AO245b (USDC-CT Rev. 9/07)

                                                     UNITED STATES DISTRICT COURT
         Page 1                                            District of Connecticut

 UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE

                    v.                                                   CASE NO. 3:14CR00079 (JBA)
                                                                         USM NO: 15623-014
 JOHN G. ROWLAND
                                                                         Liam Brennan, AUSA
                                                                         Christopher M. Mattei, AUSA
                                                                         Assistant United States Attorney

                                                                         Reid H. Weingarten, Esq.
                                                                         Jeffrey A. Novack, Esq.
                                                                         Defendant’s Attorney

 THE DEFENDANT: was found guilty on counts1,2,3,4,5,6 & 7

 Accordingly the defendant is adjudicated guilty of the following offenses:
          Title & Section                  Nature of Offense              Offense Concluded                      Counts
                                      Falsification of Records in a
        Title 18 U.S.C. §1519                                                 April 2, 2012                       1&3
                                         Federal Investigation
       Title 18 U.S.C. §371                    Conspiracy                 April 2, 2012                            2
  Title 18 U.S.C. §1001(a)(2)          Causing False Statements           April 2, 2012                           4&5
 Title 2 U.S.C. §§441(a)(1)(A),
                                         Illegal Campaign
  441a(f), 437g(d)(1)(A)(ii) &                                            April 2, 2012                           6&7
                                           Contributions
        Title 18 U.S.C. §2
The following sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total of 30 months on
Counts 1 through 5 to run concurrent to each other and 12 months on Counts 6 & 7 to run concurrent to each other and to run
concurrent with sentence imposed on Counts 1 through 5, for a total effective sentence of 30 months.
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a total term of 3 years concurrent on Counts 1
through 5, and 1 year concurrent on Counts 6 & 7, and concurrent with Counts 1through 5, for a total effective term of supervised
release of 3 years. The Mandatory and Standard Conditions of Supervised Release as attached, are imposed. In addition, the
following Special Conditions are imposed:
          1. Defendant shall not incur new credit card charges or charge over $500.00 on existing credit cards, or open additional
lines of credit without prior permission of the probation officer until the defendant's criminal debt obligation is paid.
          2. Defendant shall provide the probation officer with access to requested financial information.
          3. Defendant shall not possess a firearm or other dangerous weapon.

CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments (as follows) or (as noted on the
restitution order).

Special Assessment:         $550.00           $100.00 each on Counts 1,2,3,4 & 5 and $25.00 each on Counts 6 & 7 for a total amount
                                              of $550.00
Fine:                       $35,000.00        payable immediately and any that remains unpaid at the commencement of the term of
                                              supervised release shall be paid at the rate of no less than $250.00 per month. The
                                              monthly payment schedule may be adjusted based on the defendant's ability to pay as
                                              determined by the probation officer and approved by the Court.
Restitution:                $0.00
          AO245b (USDC-CT Rev. 9/07)

 Page 2


 It is further ordered that the defendant will notify the United States Attorney for this district within 30 days of any change of name,
 residence or mailing address until all fines, restitution, costs and special assessments imposed by this judgment, are paid.



 JUDICIAL RECOMMENDATION(S) TO THE BUREAU OF PRISONS

           That defendant be incarcerated at FCI Otisville for easy family access.

 The defendant shall self surrender to the United States Marshal for the District of Connecticut or the institution designated
 by the Bureau of Prisons at 12:00 noon on 6/16/2015.



                                                          March 18, 2015
                                                          Date of Imposition of Sentence



                                                          /s/____________________________
                                                          Janet Bond Arterton
                                                          United States District Judge
                                                          Date: 3/25/15




 RETURN

 I have executed this judgment as follows:

 Defendant delivered on                            to

 a                                           , with a certified copy of this judgment.


                                                                                          Joseph P. Faughnan
                                                                                         United States Marshal


                                                                             By
                                                                                                  Deputy Marshal




CERTIFIED AS A TRUE COPY
ON THIS DATE ___________
ROBERTA D. TABORA, Clerk
BY:
    Deputy Clerk
             AO245b (USDC-CT Rev. 9/07)

Page 3
                                         CONDITIONS OF SUPERVISED RELEASE
In addition to the Standard Conditions listed below, the following indicated (O) Mandatory Conditions are imposed:
                                                                 MANDATORY CONDITIONS
 (1)       The defendant shall not commit another federal, state or local offense;
 (2)       The defendant shall not unlawfully possess a controlled substance;
Q (3)       The defendant who is convicted for a domestic violence crime as defined in 18 U.S.C. section 3561(b) for the first time shall attend a public,
            private, or private non-profit offender rehabilitation program that has been approved by the court, in consultation with a State Coalition
            Against Domestic Violence or other appropriate experts, if an approved program is available within a 50-mile radius of the legal residence of
            the defendant;
Q     (4)   The defendant shall refrain from any unlawful use of a controlled substance and submit to one drug test within 15 days of release on
            supervised release and at least two periodic drug tests thereafter for use of a controlled substance;
     (5)   If a fine is imposed and has not been paid upon release to supervised release, the defendant shall adhere to an installment schedule to pay that
            fine;
     (6)   The defendant shall (A) make restitution in accordance with 18 U.S.C. sections 2248, 2259, 2264, 2327, 3663, 3663A, and 3664; and (B) pay
            the assessment imposed in accordance with 18 U.S.C. section 3013;
Q     (7)   (A)         In a state in which the requirements of the Sex Offender Registration and Notification Act (see 42 U.S.C. §§ 16911 and 16913) do
                        not apply, a defendant convicted of a sexual offense as described in 18 U.S.C. § 4042(c)(4) (Pub. L. 105-119, § 115(a)(8), Nov. 26,
                        1997) shall report the address where the defendant will reside and any subsequent change of residence to the probation officer
                        responsible for supervision, and shall register as a sex offender in any State where the person resides, is employed, carries on a
                        vocation, or is a student; or
            (B)      In a state in which the requirements of Sex Offender Registration and Notification Act apply, a sex offender shall (i) register, and
                     keep such registration current, where the offender resides, where the offender is an employee, and where the offender is a student,
                     and for the initial registration, a sex offender also shall register in the jurisdiction in which convicted if such jurisdiction is different
                     from the jurisdiction of residence; (ii) provide information required by 42 U.S.C. § 16914; and (iii) keep such registration current for
                     the full registration period as set forth in 42 U.S.C. § 16915;
     (8)   The defendant shall cooperate in the collection of a DNA sample from the defendant.
While on supervised release, the defendant shall also comply with all of the following Standard Conditions:
                                                                 STANDARD CONDITIONS
(1)         The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation officer;
(2)         The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
(3)         The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
(4)         The defendant shall support the defendant’s dependents and meet other family responsibilities (including, but not limited to, complying with
            the terms of any court order or administrative process pursuant to the law of a state, the District of Columbia, or any other possession or
            territory of the United States requiring payments by the defendant for the support and maintenance of any child or of a child and the parent
            with whom the child is living);
(5)         The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
(6)         The defendant shall notify the probation officer at least ten days prior to any change in residence or employment, or if such prior notification is
            not possible, then within five days after such change;
(7)         The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician;
(8)         The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered, or other places
            specified by the court;
(9)         The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
            unless granted permission to do so by the probation officer;
(10)        The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view by the probation officer;
(11)        The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
(12)        The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
            of the court;
(13)        The defendant shall pay the special assessment imposed or adhere to a court-ordered installment schedule for the payment of the special
            assessment;
(14)        The defendant shall notify the probation officer of any material change in the defendant’s economic circumstances that might affect the
            defendant’s ability to pay any unpaid amount of restitution, fines, or special assessments.

      The defendant shall report to the Probation Office in the district to which the defendant is released within 72 hours of
      release from the custody of the U.S. Bureau of Prisons. Upon a finding of a violation of supervised release, I understand that
      the court may (1) revoke supervision and impose a term of imprisonment, (2) extend the term of supervision, and/or (3)
      modify the conditions of supervision.
      These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                  (Signed) ________________________________                                         ______________
                           Defendant                                                                Date


                           ________________________________                                          _______________
                           U.S. Probation Officer/Designated Witness                                 Date
